Case 18-32106 Document 38 Filed in TXSB on CW/lkgm£ PARTN ERS

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De|ivered by emai| to:
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May 8, 2018

United States Courthouse
United States Bankruptcy Court
Southern District of Texas
Houston Division

515 Rusk Avenue

Houston, TX 77002.

Attention: The Court Case Manager, and Court Re|ief Case Managers
Ms. LinhThu Do, Ms. Anita Do|ezel and Mr Mario Rios

Dear Ms. LinhThu Do, le. Do|ezel and Nlr Rios1

NOT|CEI SERV|CE OF AFFIDAV|T OF FACTS OF MR BOSAH OKONY|A, LEGAL
OFF|CER OF ZENITH BANK PLC lN RE ER|N CORPORAT|ON’S VOLUNTARY
PET|T|ON UNDER CHAPTER 11 - CASE NUMBER: 18-32106.

We are Counse| to Zenith Bank Plc, a Secured Creditor of Erin Petroleum Nigeria
Limited (both companies registered under the laws of the Federal Republic of
Nigeria). Erin Petroleum Nigeria Limited, although a subsidiary of Erin Energy
Corporation is a separate body corporate from the parent.

The existence of the above mentioned Petition and applications for interim and final
orders before the Honorab|e Judge Marvin lsgur’s Court has been brought to our
attention by our client Zenith Bank P|c. Whilst our client is not a party to this petition,
it is important to state that Zenith Bank Plc is a secured creditor of Erin Petroleum
Nigeria Limited, one of the Debtors in the aforesaid petition.

Zenith Bank Plc1 now vide the Affldavit of Mr. Bosah Okonyia (and the annexures
thereto) deposed to at the High Court of Lagos State. today, May 8, 2018 presents
before this Court, information and facts which are relevant to the due and fair
consideration of the applications pending before the US Court; and which havel may
not have been brought before the court nor have been brought to the Court’s
attention prior to this time.

Dr M. A]ogwu, SAN, FClArb; Pro'fessor F. Ajogwu, SAN, FClArb: |. lmhanze, AC|Arb (UK); C. Nwabu|u; MM

M. Echo; J. Faku|uda, AC!Arb (UK); C. Onuorna; M. Sowunmi; C’. Ekv'eanya; T. Kachikwu; A. Adeniyi; 1
K. Erhonsele; A. Odekun|e; U. Umukoro; O. O|umide, AC|Arb (UK); B. Osazuwa; A. Vusuf;
N. Jo-Madugu; A. Okafor; O. Makinde; O. Nwosu; O. O|anrewaju; J. lyoke; .l. Nirnpar'
P. Udeh; G. Oyewo|e; E. A!asa; F. Fawehinmi; C. Ezeilo; G. Osol<a

Case 18-32106 Document 38 Filed in TXSB on 05/08/18 Page 2 of 2

This serves therefore to request you LinhThu Do, Anita Do|ezel and Mario Rios as
Case Manager and Re|ief Case Manager respectively of this Court, or such other
successor or other officer of the Court as may be competent by law to do so, to bring
this Aft”rdavit and its annexures, in the interest of justice, to the urgent attention of the
Court before 0900 Hours (Houston, Texas time) on May 9, 2018; and to kindly
confirm such to us by return mail.

P|ease accept our professional regards

Yours sincerely,
FOR: KENNA PARTNERS

…

Char|es Nwabulu, ACArb
Associate Partner

Enclosuresl Attachments

ln copy tol and served on

1. Erin Energy Corporation - lionel.mcbee@erinenergy.com
AND
2. Erin Energy Corporation’s Attorneys

andl or Proposed Attomeys, David L. Curry Jr.

Texas Bar No. 00784695

Bridget Moore - bmoore@okinadams.com
Okin Adams LLP

1113 \flne St. Suite 201, Houston, Texas 77002

Te|: 713.228.4100, Fax:888.865.2118

3. Erin Petroleum Nigeria Limited
(Previously Known as "Camac Petroluem Ltd)
(Debtor to Zenith Bank Plc)
Attn: Mr Adefemi Sakiru Ayoade, CEO FemiAyoade@erinenergy.com
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